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 6                         IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                     )
 9                                                 )
                                 Plaintiff,        )
10                                                 )      CR-11-0126-20-PHX-JAT
                      v.                           )
11                                                 )      FINDINGS AND
     Kenneth James Thompson,                       )      RECOMMENDATION OF THE
12                                                 )      MAGISTRATE JUDGE UPON A
                                 Defendant.        )      PLEA OF GUILTY AND ORDER
13
     TO: THE HONORABLE JAMES A. TEILBORG, UNITED STATES DISTRICT
14
     JUDGE.
15
                   Upon Defendant's request to enter a plea of guilty pursuant to Rule 11 of the
16
     Federal Rules of Criminal Procedure, this matter came on for hearing before U.S.
17
     Magistrate Judge Lawrence O. Anderson on April 5, 2012 with the written consents of the
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     Defendant, counsel for the Defendant, and counsel for the United States of America.
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                   In consideration of that hearing and the statements made by the Defendant
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     under oath on the record and in the presence of counsel, and the remarks of the Assistant
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     United States Attorney and of counsel for Defendant,
22
                   (A) I FIND as follows:
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                   (1) that Defendant understands the nature of the charge against him to which
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     the plea is offered and the elements of the offense to which he is pleading guilty;
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                   (2) that Defendant understands his right to trial by jury, to persist in his plea
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     of not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse
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     witnesses, and his right against compelled self-incrimination;
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 1                      (3) that Defendant understands what the maximum possible sentence is,
 2   including the effect of the supervised release term, and Defendant understands that the
 3   sentencing guidelines are advisory only and that the Court may depart from those
 4   guidelines under some circumstances;
 5                      (4) that the plea of guilty by the Defendant has been knowingly and
 6   voluntarily made and is not the result of force or threats or of promises apart from the plea
 7   agreement between the parties;
 8                      (5) that Defendant is competent to plead guilty;
 9                      (6) that the Defendant understands that his answers may later be used against
10   him in a prosecution for perjury or false statement;
11                      (7) that the Defendant understands that by pleading guilty he waives the right
12   to a jury trial.
13                      (8) that the Defendant understands the terms of any plea agreement
14   provision waiving the right to appeal or to collaterally attack the sentence and has
15   knowingly, intentionally and voluntarily waived those rights except for a claim of
16   ineffective assistance of counsel;
17                      (9) that there is a factual basis for the Defendant's plea; and
18                      (10) that the Defendant is satisfied with his lawyer’s representation in all
19   aspects of the Defendant’s case up to this point in time; and further,
20                      (B) I RECOMMEND that the plea of Guilty to Count 1 of the Indictment
21   be accepted subject to the Court's acceptance of the plea agreement which shall remain
22   lodged with the Court pending Judge Teilborg's decision whether to accept or reject the plea
23   agreement after review of the presentence report.
24                                                 ORDER
25                      IT IS ORDERED that any objection to the guilty plea proceedings and any
26   request(s) for supplementation of those proceedings be made by the parties in writing and
27   shall be specific as to the objection(s) or request(s) made. All objections or requests for
28                                                      2
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 1   supplementation shall be filed within fourteen (14) days of the date of service of a copy of
 2   these findings unless extended by an Order of the assigned district judge.
 3                 IT IS FURTHER ORDERED that all character letters Defendant or his
 4   attorney would like the sentencing judge to read and consider before pronouncing sentence
 5   (including the translation of any documents from Spanish to English) must be submitted in
 6   paper form with the original to the probation office and copies to the sentencing judge and
 7   opposing counsel no later than seven (7) business days prior to the sentencing date or they
 8   may be deemed untimely by the sentencing judge and not considered by him/her. (ECF
 9   Manual, II § O at 24)
10                 IT IS FURTHER ORDERED that any motions for upward departure,
11   downward departure and sentencing memoranda must be filed, at least, seven (7) business
12   days prior to the sentencing date. Responses are due three (3) business days prior to the
13   sentencing date. Any motion to continue sentencing must be filed promptly upon
14   discovery of the cause for continuance and must state the cause with specificity. Motions
15   to continue sentencing filed less than fourteen (14) days before sentencing are disfavored.
16                 DATED this 5th day of April, 2012.
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